Case 1:19-cv-00715-LO-IDD Document 59 Filed 08/14/19 Page 1 of 2 PageID# 925
Case 1:19-cv-00715-LO-!DD




Kyle Patterson
20031 Pinehurst Street
Detroit, Mi 48221
313-333-4618
Kylepatt02@gmall.com
                                                                           RECEIVED               "1
                                                                           MAILRO^M               '

7th August 2019
                                                                        m ■ 4 2019
Monica Riva Talley
                                                                  CLERK, U.S. DISTF.•::^   'URT
Sterne Kessler Goldstein & Fox, P.L.LC                               ALEXANDRIA. V:           ,
123 Address St
Washington, DC 20005-3934




Dear Ms. Talley,

 My name is Kyle Patterson. Hope everything is well, I am writing in regards to
a summons ietter that was sent to me dated July 25, 2019. I have just
received your letter and I have read it thoroughly. I want Juul Labs to know
that I no longer have any of those products and I have never manufacted any
of those items.l also do not know any of the people stated as defendants.
There may be a misunderstanding in which those defendants and I work
together as a team to manufacture and sell counterfeit Juul products. That
couldn't be further from the truth. I alone buy and resell items for a living and
I thought I was purchasing authentic products in bulk just like many other
items I buy to resell. I first became aware of Juul products in January this
year when I successfully stopped smoking cigarettes by using Juul products. I
never meant to deceive customers into believing that there were buying
authentic products when they really weren't. I didn't know myself. I
understand that there are health risks when consuming electronic cigarette
products especially ones made in China where we don't know the exact
formulas and ingredients being used. I have destroyed and discarded those
items not only because they are counterfeit, but because I was also
consuming the product myself thinking that there were safe Juul products.



Aliexpress and DHGate are trusted Chinese platforms that I buy a lot of items
from. They upload certificates and documents stating that their facilities and
operations are quality assured. They even earn certain badges on their
supplier page identifying them as top rated suppliers. After doing research
online I now understand that those Chinese suppliers are supplying
counterfeit products and that Juul is aware of this and have sued over 30
Chinese manufacturers. As an ex-cigarette smoker myself, I assumed I was
Case 1:19-cv-00715-LO-IDD Document 59 Filed 08/14/19 Page 2 of 2 PageID# 926
